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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                   CASE NO. 21-61485-CIV-SMITH

 CANDY PATTI,

         Plaintiff,

 v.

 CAVALRY PORTFOLIO
 SERVICES, LLC,

       Defendant.
 _______________________________________/

                                     ORDER TO SHOW CAUSE

         This matter is before the Court sua sponte. A review of the Amended Complaint [DE 18]

 indicates that Plaintiff’s claims against Defendant are based, at least in part, on the Eleventh Circuit’s

 decision in Hunstein v. Preferred Collection & Management Services, 994 F.3d 1341 (11th Cir. 2021).

 On October 28, 2021, the Eleventh Circuit sua sponte vacated its prior decision and issued a new

 opinion in Hunstein v. Preferred Collection & Management Services, Inc., 17 F.4th 1016 (11th Cir.

 2021). On November 17, 2021, the Eleventh Circuit sua sponte vacated the 2021 U.S. App. LEXIS

 32325 opinion and ordered that the case be reheard en banc. Hunstein v. Preferred Collection & Mgmt.

 Servs., 17 F.4th 1103 (11th Cir. 2021). Accordingly, it is

         ORDERED that, no later than December 10, 2021, the parties shall show cause why this case

 should not be stayed pending the Eleventh Circuit’s decision after its en banc rehearing in Hunstein.

         DONE AND ORDERED in Fort Lauderdale, Florida on this 3rd day of December, 2021.




 cc:     Counsel of record
